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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

GEORGIA MUSLIM VOTER
PROJECT, et al.,

      Plaintiffs,                         Civil Action No.: 1:18-cv-04789-
                                          LMM
vs.

BRIAN KEMP, et al.,

    Defendants.
RHONDA J. MARTIN, et al.,

      Plaintiffs,
                                          Civil Action No.: 1:18-cv-04776-
vs.                                       LMM

BRIAN KEMP, et al.

       Defendants.
 
    DEFENDANTS GWINNETT COUNTY BOARD OF REGISTRATIONS
    AND ELECTIONS AND ITS MEMBERS’ OBJECTIONS TO FORM OF
                    PROPOSED INJUNCTION

      The Gwinnett BORE appreciates the Court’s consideration of its underlying

arguments about the relief sought by Plaintiffs and will not reiterate the issues

already raised in this case. But the Gwinnett BORE has identified several areas

where additional clarification of the Court’s proposed injunction [Doc. 28] will

greatly assist Gwinnett elections officials (and likely all local election officials)


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and avoid confusion about the Court’s direction, hopefully ensuring that voters

across the state are not subjected to differing treatment than those in Gwinnett

County.1 These objections relate solely to the need for clarification of the proposed

injunction.

                                                               INTRODUCTION

              The Court proposes to mirror two current statutory provisions and apply

them to the category of provisional absentee ballots. [Doc. 28, pp. 29-30]. The

statutory provisional ballot procedures are focused on voter eligibility. An election

official already knows who the voter claims to be, but (1) needs to determine if he

or she is properly registered, (2) needs to confirm his or her identity using a photo

identification, or (3) needs to determine if the voter voted in the correct precinct

prior to allowing the voter’s ballot to be included in the vote totals. O.C.G.A. § 21-

2-419. But the statutory voter challenge process in O.C.G.A. § 21-2-229 is not tied

to balloting and thus has different procedures and deadlines.



                                                            
1
  A Supplemental Declaration of Lynn Ledford is attached as Ex. A (“Supp.
Ledford Dec.”) to provide an evidentiary basis for the issues raised in this response
to assist the Court. While the documents together exceed 10 pages, there is nothing
in Director Ledford’s Supplemental Declaration that is not already included in this
response. Further, while the comments in this document are focused on issues for
the Gwinnett BORE, they will likely apply to other election officials across the
state.

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      Using the same procedures for provisional absentee ballot applications and

ballots requires additional clarity about how to implement the Court’s proposed

order, especially given the tight timelines related to post-election certification,

recounts, and election contests.

I. Objections to Paragraph 1: Ballots.

      A. Post-decision appeal rights.

      Under the Court’s proposed injunction, a voter (1) whose ballot is rejected

for a signature mismatch; (2) who is given a pre-rejection notice; and (3) still had

his or her ballot rejected, is entitled to a hearing under the process for challenging

the eligibility of voters contained in O.C.G.A. § 21-2-229(e). [Doc. 28, pp. 29-30].

This statutory process includes a petition to the superior court challenging the

decision of the registrars and currently only applies to an allegedly invalid

registration. Id. It is not used in the context of ballots or other election processes

with deadlines as sensitive as the certification process. Without further

clarification, Gwinnett election officials will not know how to implement this

process in two primary areas.

      First, they will need to know how to reconcile the ten-day period to file an

appeal in superior court found in O.C.G.A. § 21-2-229(e) with the deadlines for

certification. Supp. Ledford Dec. at ¶ 6. State law requires that final certification of


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the vote totals must take place no later than 5:00 p.m. on the Monday following the

election.2 O.C.G.A. § 21-2-493(k). Those election officials will need direction

about whether they are to delay certification of vote totals if there are ballots with

rejected signature mismatches but the affected voters have not yet appealed the

decision or if appeals are pending. Supp. Ledford Dec. at ¶ 6.

              Second, if a superior court rules that an absentee ballot rejection was

improper, the Gwinnett election officials will need to know how to handle

reporting of vote totals. Supp. Ledford Dec. at ¶ 7. Are officials required to

withhold or delay certification if the decisions being appealed under 229(e) could

change the result of the election? If the superior court reverses a decision of the

election superintendent, is a recertification of vote totals required as when an

election recount or contest is decided or is that only necessary when the outcome

would have changed? See O.C.G.A. §§ 21-2-493(l), 21-2-527(d). Clarification is

needed because current statutory structures do not anticipate vote totals changing

after certification except through a recount or election contest.

              Given the difficulty of reconciling the O.C.G.A. § 21-2-229(e) challenge

process—that was not designed for something as time-sensitive as ballots—with

the certification timelines, the Gwinnett BORE would suggest that the 229(e)
                                                            
2
 Because the Monday after the election is a state holiday, the actual certification
date for 2018 is Tuesday.

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appeal process not be used in this context. Instead, the process for review of

rejections for signature mismatch should mirror the current provisional ballot

verification process, which does not include a right to appeal to superior court.

Thus, the Gwinnett BORE requests that the last sentence of the Court’s proposed

injunction in paragraph 1 be deleted. This process will provide much more clarity

to election officials and avoid confusion about certification under processes that

have never been applied to absentee signature mismatches after an election.

      B. Method and contents of pre-rejection notice.

      Local election officials will continue to receive ballots up to 7:00 p.m. on

Election Day. For any ballots where the signature on the oath does not appear to

match the application or registration, those officials would provide a pre-rejection

notice. [Doc. 28 pp. 29-30].

      The Gwinnett BORE needs clarification about how to provide the pre-

rejection notice and what information that notice will need to convey to the voter.

Supp. Ledford Dec. at ¶ 4. The Gwinnett BORE would recommend that only a

mailed notice and no other methods should be required. Supp. Ledford Dec. at ¶

10. After Election Day, election officials have numerous other tasks to perform and

would have to divert time from those critical tasks to additional efforts to contact

voters if other methods are required.


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              The Gwinnett BORE also needs clarification about how voters can resolve a

signature mismatch. Supp. Ledford Dec. at ¶¶ 4-5. For a provisional ballot, the

voter is able to show he or she has a valid photo identification or was otherwise

properly registered to vote by the deadline. O.C.G.A. §§ 21-2-418 and 21-2-419.

For registration or precinct issues specifically, the voter does not need to take any

action because the determination is made by the registrars. Id.

              If the same procedure is to be utilized here, then Court should give direction

about the types of information that can be presented so that voters can be informed

in the pre-rejection notice. Presenting a photo ID in person would clearly confirm

the voter’s identity, but the Court may intend for other methods of determining the

identity of the voter who signed the absentee ballot oath.3 Voters will also need to

be informed about the methods of resolving a signature mismatch in the pre-

rejection notice and will need to be given instructions about whether they can

appear in person and, if so, when those opportunities must be made available.

II. Objection to Paragraph 2: Applicants.

              The Court’s proposed process for dealing with signature mismatches on

absentee ballot applications needs further clarification for scenarios where the

                                                            
3
 While Plaintiffs suggest a phone call [Doc. 29, p. 1], this is hardly an effective
method of verifying the identity of a voter and is not available in the provisional
balloting process. Supp. Ledford Dec. at ¶ 5.

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applicant returns the provisional absentee ballot, but the ballot oath signature still

does not match other records. Supp. Ledford Dec. at ¶ 8. For example, how should

officials handle a situation where a signature on a provisional absentee ballot

matches the voter registration record, but not the application? Is that ballot to be

accepted or rejected? Current law requires a match to the registration record, the

application, and the ballot. If that is the Court’s intention, the Court should add

additional language clarifying that the signatures must still match across all three

records or that the election superintendent is still satisfied that the same voter

signed all three documents.

      In addition, the Gwinnett BORE wants to ensure there are not future

signature mismatch problems. Should election officials also update the

nonconforming signature on a registration record with the signature on a ballot that

is accepted? Or should the election officials provide a new voter registration form

so the voter can update his or her signature? Supp. Ledford Dec. at ¶ 11.

III. Objection to Paragraph 3: Class of voters.

      As the Gwinnett BORE noted, their election employees are currently at their

maximum capacity preparing for the election. Supp. Ledford Dec. at ¶ 9. While the

Gwinnett BORE will devote resources to complying with the direction given by

the Secretary of State based on the Court’s proposed injunction, the effort of


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reviewing past applications will take time with only nine days left for absentee

ballots to go out, especially because prior to sending a provisional absentee ballot,

officials must also determine if previously rejected applicants have voted by some

other means.4 Any limitation in the amount of time that elections officials have to

devote to digging through past applications would greatly assist the work of

election officials, such as a limitation to applying the process in paragraph 2 of the

proposed injunction only to applications rejected for signature mismatch in the last

15 days of mail-in absentee balloting.

                                                               CONCLUSION

              The Gwinnett BORE appreciates the opportunity to seek clarification and

object to the administrative difficulties before the proposed injunction is entered.

When the issues raised in this response are clarified, the proposed injunction will

be far less confusing for the Gwinnett BORE and its employees, and hopefully lead

to more consistent treatment across the state by election superintendents.

              I certify that this response has been prepared in a Times New Roman 14-

point font, one of the font and point selections approved by the Court in Local Rule

5.1(C).

                                                            
4
 As the Court noted, the number of ballots rejected for signature mismatch is only
nine in Gwinnett County. The number of applications rejected due to signature
mismatch is significantly higher.

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    Respectfully submitted this 25th day of October, 2018.

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vs.                                   LMM

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      Defendants.


                       CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that I have this date electronically filed the foregoing

DEFENDANTS GWINNETT COUNTY BOARD OF REGISTRATIONS

AND ELECTIONS AND ITS MEMBERS’ OBJECTIONS TO FORM OF

PROPOSED INJUNCTION with the Clerk of the Court using the CM/ECF




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system which will automatically send email notification of such filing to the

following attorneys of record:

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      This 25th day of October, 2018.
                                             /s/ Bryan P. Tyson
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